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 6                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                        2:17-CR-221-JAD-EJY

 9                 Plaintiff,                       Amended Preliminary Order of

10          v.                                      Forfeiture

11 KEJON WARD,

12                 Defendant.

13         This Court finds Kejon Ward pled guilty to Counts One and Two of a Two Count
14 Superseding Criminal Information charging him in Count One with interference with

15 commerce by robbery in violation of 18 U.S.C. § 1951(a) and in Count Two with possession

16 of a firearm during and in relation to a crime of violence in violation of 18 U.S.C. §

17 924(c)(1)(A)(i). Superseding Criminal Information, ECF No. 279; Plea Agreement, ECF

18 No. 281; Change of Plea, ECF No. 284.

19         This Court finds Kejon Ward agreed to the forfeiture of the property set forth in the
20 Plea Agreement and the Forfeiture Allegations of the Superseding Criminal Information.

21 Superseding Criminal Information, ECF No. 279; Plea Agreement, ECF No. 281; Change

22 of Plea, ECF No. 284.

23         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2), the United
24 States of America has shown the requisite nexus between property set forth in the Plea

25 Agreement and the Forfeiture Allegations of the Superseding Criminal Information and the

26 offenses to which Kejon Ward pled guilty.

27         The following property is (1) any firearm or ammunition involved in or used in any
28 knowing violation of 18 U.S.C. § 924(c)(1)(A)(i); (2) any firearm or ammunition involved in
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 1   or used in any violation of any other criminal law of the United States, 18 U.S.C. § 1951(a);

 2   or (3) any firearm or ammunition intended to be used in any crime of violence, 18 U.S.C. §§

 3   924(c)(1)(A)(i) and 1951(a) and is subject to forfeiture pursuant to 18 U.S.C. § 924(d)(1)

 4   with 28 U.S.C. § 2461(c) and 18 U.S.C. § 924(d)(1), (2)(C), and (3)(A) with 28 U.S.C. §

 5   2461(c):

 6                    a. Mr9 Eagle handgun bearing serial number Mn005757;

 7                    b. SCCY CPX-1 handgun bearing serial number 423550; and

 8                    c. any and all compatible ammunition.

 9   (all of which constitutes property)

10          This Court finds that on the government’s motion, the Court may at any time enter

11   an order of forfeiture or amend an existing order of forfeiture to include subsequently

12   located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

13   32.2(b)(2)(C).

14          This Court finds the United States of America is now entitled to, and should, reduce

15   the aforementioned property to the possession of the United States of America.

16          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

17   DECREED that the United States of America should seize the aforementioned property.

18          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory

19   rights, ownership rights, and all rights, titles, and interests of Kejon Ward in the

20   aforementioned property are forfeited and are vested in the United States of America and

21   shall be safely held by the United States of America until further order of the Court.

22          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States

23   of America shall publish for at least thirty (30) consecutive days on the official internet

24   government forfeiture website, www.forfeiture.gov, notice of this Order, which shall

25   describe the forfeited property, state the time under the applicable statute when a petition

26   contesting the forfeiture must be filed, and state the name and contact information for the

27   government attorney to be served with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6)

28   and 21 U.S.C. § 853(n)(2).
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual

 2   or entity who claims an interest in the aforementioned property must file a petition for a

 3   hearing to adjudicate the validity of the petitioner’s alleged interest in the property, which

 4   petition shall be signed by the petitioner under penalty of perjury pursuant to 21 U.S.C §

 5   853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the petitioner’s

 6   right, title, or interest in the forfeited property and any additional facts supporting the

 7   petitioner’s petition and the relief sought.

 8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,

 9   must be filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas,

10   Nevada 89101, no later than thirty (30) days after the notice is sent or, if direct notice was

11   not sent, no later than sixty (60) days after the first day of the publication on the official

12   internet government forfeiture site, www.forfeiture.gov.

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the

14   petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

15   Attorney’s Office at the following address at the time of filing:

16                  Daniel D. Hollingsworth
                    Assistant United States Attorney
17                  James A. Blum
                    Assistant United States Attorney
18                  501 Las Vegas Boulevard South, Suite 1100
                    Las Vegas, Nevada 89101.
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20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice

21   described herein need not be published in the event a Declaration of Forfeiture is issued by

22   the appropriate agency following publication of notice of seizure and intent to

23   administratively forfeit the above-described property.

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

25   copies of this Order to all counsel of record.

26        Dated: November 30, 2021.
27
                                                    JENNIFER A. DORSEY
28                                                  UNITED STATES DISTRICT JUDGE
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